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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION


LINDA SUE SEXTON, et al.,

                  Plaintiffs,                                 Case No. 19-12574

vs.                                                           HON. MARK A. GOLDSMITH

THOMAS CERNUTO, et al.

            Defendants.
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             AMENDED CASE MANAGEMENT AND SCHEDULING ORDER

          The Case Management and Scheduling Order entered on October 16, 2019 (Dkt. 23) is

modified as follows:

                                    EVENT                                    DEADLINE
      Fact Discovery                                         July 10, 2020
      Expert Discovery                                       July 10, 2020
      Dispositive Motions & Motions to Limit/Exclude         July 24, 2020
      Expert Testimony

      All Other Motions, Including Motions in Limine         November 9, 2020
      Joint Final pretrial Order                             November 9, 2020
      Final Settlement Conference                            November 30, 2020 @ 1:30 p.m.
      Final Pretrial Conference                              December 21, 2020 @ 1:30 p.m.
      Trial – Jury                                           January 11, 2021 @ 8:30 a.m.

          SO ORDERED.


Dated: June 12, 2020                                   s/Mark A. Goldsmith
       Detroit, Michigan                               MARK A. GOLDSMITH
                                                       United States District Judge
